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 6
 7
                              UNITED STATES DISTRICT COURT
 8
                                     DISTRICT OF NEVADA
 9
10    UNITED STATES OF AMERICA,                    CASE NO.: 2:21-mj-1027-DJA

11                               Plaintiff,
             vs.                                   Stipulation to Continue Preliminary
                                                   ORDER
12
                                                   Hearing
13    ALEXANDER HOYOS RIVERA,

14                               Defendant.
15
16          It is hereby stipulated and agreed, by and between Jason M. Frierson, United
17
     States Attorney, through Jim W. Fang, Assistant United States Attorney and Ivette
18
     Amelburu Maningo, Esq., counsel for Defendant Alexander Hoyos Rivera, that the
19
     preliminary hearing in the above-captioned matter, scheduled for March 6, 2023, at 4:00
20
21   p.m., be vacated and continued until a time convenient to the Court, but no earlier than

22   90 days from the current setting.
23
           1.      Federal Rule of Criminal Procedure Rule 5.1(d) provides that “[w]ith the
24
     defendant’s consent and upon a showing of good cause—taking into account the public
25
26   interest in the prompt disposition of criminal cases—a magistrate judge may extend

27   the time limits [for preliminary hearings] one or more times.” Here, the parties have
28
     resolved this matter and Defendant Hoyos Rivera’s Waiver of Indictment, Filing of an
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     Information, Initial Appearance and Change of Plea is currently scheduled for March
 1
 2   20, 2023. As such, the parties request a continuance of the preliminary hearing in this

 3   matter until a time convenient to the Court, but no earlier than 90 days from the
 4   current setting.
 5
 6          3. This continuance is not sought for the purposes of delay, but to allow the
 7
     Defendant to proceed to a Change of Plea as scheduled on March 20, 2023.
 8
 9          4. The Defendant is not in custody and agrees to the continuance.
10
11          5. Denial of this request could result in a miscarriage of justice, and the ends of
12
     justice served by granting this request outweigh the best interest of the public and the
13
     Defendant in a speedy trial.
14
15
            6. The additional time requested by this stipulation is excludable in computing
16
     the time within which indictment must be filed pursuant to the Speedy Trial Act, 18
17
18   U.S.C. § 3161(b), and considering the factors under 18 U.S.C. § 3161(h)(7)(A) and (B)(i)

19   and (iv).
20          DATED this 3rd day of March, 2023.
21
     JASON M. FRIERSON
22   United States Attorney
     /s/Jim W. Fang
23   JIM W. FANG
24   Assistant United States Attorney
     Counsel for the United States
25
     /s/ Ivette Amelburu Maningo
26
     IVETTE AMELBURU MANINGO, ESQ.
27   Counsel for Defendant Hoyos Rivera

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 8                            UNITED STATES DISTRICT COURT

 9                                  DISTRICT OF NEVADA
10
       UNITED STATES OF AMERICA,                    CASE NO.: 2:21-mj-1027-DJA
11
                                Plaintiff,
12           vs.                                    Findings and Order
13
       ALEXANDER HOYOS RIVERA,
14
                                Defendant.
15
16
           Based on the pending Stipulation between the Defense and the Government, and
17
     good cause appearing therefore, the Court hereby finds that:
18
19         1. The Defendant and the Government have resolved this matter and Defendant

20   Hoyos Rivera’s Waiver of Indictment, Filing of an Information, Initial Appearance and
21
     Change of Plea is currently scheduled for March 20, 2023.
22
23         2. As such, the parties request a continuance of the preliminary hearing in this
24
     matter until a time convenient to the Court, but no earlier than 90 days from the
25
     current setting.
26
27
           3. Counsels agree to the continuance.
28

                                                3
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            4. Defendant is not in custody and agrees to the continuance.
 1
 2
            5. The continuance is not sought for the purposes of delay, but to allow the
 3
     Defendant to proceed to a Change of Plea as scheduled on March 20, 2023.
 4
 5
            6. Denial of this request could result in a miscarriage of justice, and the ends of
 6
 7   justice served by granting this request outweigh the best interest of the public and the

 8   Defendants in a speedy trial.
 9
10
            7. The additional time requested by this stipulation is excludable in computing
11
     the time within which indictment must be filed pursuant to the Speedy Trial Act, 18
12
13   U.S.C. § 3161(b), and considering the factors under 18 U.S.C. § 3161(h)(7)(A) and (B)(i)

14   and (iv).
15
            THEREFORE, IT IS HEREBY ORDERED that the preliminary hearing in the
16
     above-captioned matter currently scheduled for March 6, 2023, at 4:00 p.m. be vacated
17
18   and continued to _________________________,   at _______.
                      June 5, 2023, at 4:00 p.m., Courtroom 3A.
                       3rd           March
19          DATED this _____ day of _______________, 2023.

20
21                                                    _______________________________________
22                                                    HONORABLE DANIEL J. ALBREGTS
                                                      UNITED STATES MAGISTRATE JUDGE
23
24
25
26
27
28

                                                  4
